Case: 4:22-cv-00191-MTS Doc. #: 19-46 Filed: 03/15/22 Page: 1 of 2 PageID #: 1034




       Elizabeth Anth <elizabethanth@wsdr4.org>
    KERI SKEETERS <keriskeeters@wsdr4.org>
          Banned books
      February 3, 2022 at 10:49:55 AM CST

 Good morning, Keri.

 I'm guessing you may have received this too, but I wanted to pass along to you. I haven't
 responded to her.

 Happy Snow Day!



 ---------- Forwarded message ---------
 From: Janene Sparks <janenesparksdo@icloud.com>
 Date: Thu, Feb 3, 2022 at 9:13 AM
 Subject: Banned books
 To: <elizabethanth@wsdr4.org>


 Good morning. I am emailing you today to discuss some concerns I have regarding
 recent banned and weeded books from the libraries in the Wentzville School District.
 Over the past few weeks, it has come to my attention that The Bluest Eye by Toni
 Morrison has been banned and 2 other books are up for review; Lawn Boy and Gabi, A
 Girl in Pieces. I have also found out that three other books have been “weeded” from
 the Wentzville School District libraries; All Boys Aren’t Blue, Fun Home, and Heavy. I
 have several concerns regarding this. First of all, it is striking to me that at least 5 out of
 these 6 books deal with either LGBTQI subject matter or are stories of the experiences
 of African Americans. I understand that The Bluest Eye was challenged, and therefore a
 committee was formed to review the book, and in turn was given the task to give the
 board recommendations as to whether to keep the book or remove it from libraries.
 Despite the committee voting to keep the book, the board members voted to remove it. I
 understand that the board has the ﬁnal say, but why form the committee in the ﬁrst place
 if the board members are not going to follow their recommendations. It seems the
 committee was formed only to give the appearance that the WSD is considering these
 books in good faith and not just banning them on personal preference of the board
 members. I watched the board meeting in which the vote took place, and I was struck
 by one member who stated "the book offended ME, therefore I want it banned”. These
 were not her exact words but that was in essence what she was saying. I am very
 disappointed in a board member who cannot look outside of her own experiences and
 think that maybe others have differing opinions on what’s offensive. I would hope the




                                                                                  Exhibit 53
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 board members understand the power that they wield and would do their best to vote in
 the best interest of ALL students in the district, including those that identify as LGBTQI
 and/or are African American.

 My last point and probably the most concerning to me is the weeding of the three books
 mentioned earlier. I reached out to Brynne Cramer about this, and she directed me to
 Wentzville School District Policy 6310. This policy states speciﬁcally that in order for a
 book to be weeded it must be damaged beyond repair, outdated, or unreliable. Please
 explain to me how these three books ﬁt these criteria, and if they don’t ﬁt these criteria
 why were they pulled from the shelves without an ofﬁcial challenge. Also, if they don’t
 ﬁt these criteria, I feel strongly that they should be put back on the shelves and at that
 point, if a parent submits an ofﬁcial challenge then they can go through the committee
 and voting process.

 Lastly, I would be very interested in being considered for future committees for the
 currently challenged books.

 Thank you in advance for considering my concerns,
 Janene Sparks


 --
 Beth Anth
 Administrative Assistant
 Teaching & Learning
 Wentzville School District
 636-327-3800 ext. 20110
 <mailcore::MessageHeader:0x600001015380 Message-ID: CAKzAKeL49mySA79vESB4Ls4kHRV_D=TqA9ryg57dfSNQzADy9w@mail.gmail.com References: [087424A8-C1D8-4A96-A5C8-E70D32387BDB@icloud.com] In-Reply-To: [087424A8-C1D8-4A96-A5C8-E70D32387BDB@icloud.com] From: mailcore::Address:0x600003e12480
 Elizabeth Anth <elizabethanth@wsdr4.org> To: [mailcore::Address:0x600003e126e0 KERI SKEETERS <keriskeeters@wsdr4.org>] Subject: Fwd: Banned books Return-Path: <elizabethanth@wsdr4.org> Content-Type: multipart/alternative; boundary="00000000000036ca9b05d71fedc3" X-Google-Smtp-Source:
 ABdhPJxc6v+jaAEVKOysPFRNJq43DuVzCuss4BWJ2knZbQ1APO+g7Kf/qPYQQQMNtQj+7llD15odCSkGH6aABTIQFSA= X-Received: by 2002:aca:61d6:: with SMTP id v205mr7710852oib.216.1643907007994; Thu, 03 Feb 2022 08:50:07 -0800 (PST) Delivered-To: keriskeeters@wsdr4.org MIME-Version: 1.0 Authentication-Results:
 mx.google.com; dkim=pass header.i=@wsdr4.org header.s=google header.b=VYDicSEg; spf=pass (google.com: domain of elizabethanth@wsdr4.org designates 209.85.220.41 as permitted sender) smtp.mailfrom=elizabethanth@wsdr4.org; dmarc=pass (p=NONE sp=NONE dis=NONE) header.from=wsdr4.org X-Gm-Message-State:
 AOAM530VdBzjahjhr9CkCsqlT1sARFw9lmdVZy8pIxT7e34LZKJcqR9X 2eVPPDzLxZ34GXqLr9skiHTInEVZGZ3khoLQtvHj2OAAwfJRAIks ARC-Authentication-Results: i=1; mx.google.com; dkim=pass header.i=@wsdr4.org header.s=google header.b=VYDicSEg; spf=pass (google.com: domain of elizabethanth@wsdr4.org designates
 209.85.220.41 as permitted sender) smtp.mailfrom=elizabethanth@wsdr4.org; dmarc=pass (p=NONE sp=NONE dis=NONE) header.from=wsdr4.org DKIM-Signature: v=1; a=rsa-sha256; c=relaxed/relaxed; d=wsdr4.org; s=google; h=mime-version:references:in-reply-to:from:date:message-id:subject:to;
 bh=JprZf7NueQMLAbysBhHVUGil9fwT3OTcbxWRNgocNLw=; b=VYDicSEgAdydVvZQ/8XnFeQs7tdeETls+ZeJ5W9gYr7HJvaEi9Nten/7XiWRcuCimd zElqUK7C1nyPJENCIZcJFk4C6JQj53bcVMLmV1qWVtO7Cs+atrcFrVgZ89CH84wj/sNH fEXmcYiiYD9NoTD16Pw2V1cW2w2SzHzOHyllE= Received: by 2002:a19:dc0b:0:0:0:0:0 with
 SMTP id t11csp1797387lfg; Thu, 3 Feb 2022 08:50:08 -0800 (PST) ARC-Seal: i=1; a=rsa-sha256; t=1643907007; cv=none; d=google.com; s=arc-20160816; b=wdpfg6ro//0MCcagbRiWAbx0kw3uKxGOAsrmJklUfBLBJ+HLfd/HBnFkEla9XWdIU2 THXLw+wsZnGSvW1VjroYOoRfqzWhHieVZ6EHHJVL353qGGGDO2KnVbec2z7j8VXUmH1X
 e9KQ833wr1g3ypXgzH540dhYmOY+Tk6G/Fjb1OxfwpGALzSDe+EtJptOHZlmAYxP01fa WaXSFw/OQbRGa4DP6cWcrNy+WPhnh+lX9Wej48NikAzmuG4uHaIQ8Ni/pf9aCotiS51d Q0bFjAR7V3DFkwBBdKZdG5fFzRpyIxkXRcodhZJjcUiobb14bzLu8mjjQxUFAXHCZDpR IusA== Received-SPF: pass (google.com: domain of
 elizabethanth@wsdr4.org designates 209.85.220.41 as permitted sender) client-ip=209.85.220.41; X-Google-DKIM-Signature: v=1; a=rsa-sha256; c=relaxed/relaxed; d=1e100.net; s=20210112; h=x-gm-message-state:mime-version:references:in-reply-to:from:date :message-id:subject:to;
 bh=JprZf7NueQMLAbysBhHVUGil9fwT3OTcbxWRNgocNLw=; b=iCCbcLIxwgI6cf6pmpHx2ODn7Vccdy5kdu+ezd/J9RqpDi6qetBYCigO2d6ZNX7HON N581q9XKKEJ8T76ldNDcxUrpAU+3kl4WHHS/uUWrBpTaIHp53i+gW/0KXBHuMBLgSmAq Y4XQlCW12jMaaUxkoTdFVWgImKzs46IH3YWql2GetNN2tWqzBJp3EwLdNzZYJvfUG6VE
 hOGZjI1lD9HfSbNbz4qMbxLWRPu8jGfGypzJkg4ElZKM0mnc/TvgcByUxQa4TBEWQS7k 5EcJo+qm3pcngQ6nYEHcPi3KQgdDE8ZRAf/KlX+E/Bsu7iXK0jFgQ7MfWPpOJOx5Cc4w wbeg== ARC-Message-Signature: i=1; a=rsa-sha256; c=relaxed/relaxed; d=google.com; s=arc-20160816; h=to:subject:message-id:date:from:in-reply-
 to:references:mime-version :dkim-signature; bh=JprZf7NueQMLAbysBhHVUGil9fwT3OTcbxWRNgocNLw=; b=gcSf0mPi9UFHd7Oh84vqxBK4Wtbrtb0N3tQ8Ky42CLLNOS0SNPsvYw6jYkbiM3aN8M 670238yQp/RkJ552EIPCAYSWKUf6iPDBSdWbcy/qdZ0yvbd6ZyPFkMONTtUwlISq8J66
 kP+Q9N22z1T+tWI1zgr+0dvoODkN4N0JNMvgQ4UcfSiHWNZGEwD4r4/tir3HNi4QO/wT mzGPof0KUcVn7QVVlljLRvAwjﬂVct5q/CSpd/V1deoUU7yhSlmoUu/JDey/b/4VfR1+ hM50NvQHL3VPStz6ne2lh1dAa9ygsXTvtus9trDhdZb+MjEp93udUl2lhKbPI40Y2hZV aAyA== >
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